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                            SOUTHERN DISTRICT OF CALIFORNIA
   16

   17   Al Otro Lado, Inc., et al.,                    Case No.: 17-cv-02366-BAS-KSC
                                                       Hon. Karen S. Crawford
   18                      Plaintiffs,
   19
                                                       [DISCOVERY MATTER]
                 v.
   20                                                  JOINT MOTION REGARDING
                                 1
        Kevin K. McAleenan, et al.,                    PLAINTIFFS’ REQUEST TO
   21                                                  COMPEL LIMITED CLASS-WIDE
                           Defendants.                 DISCOVERY
   22

   23                                                  NO ORAL ARGUMENT UNLESS
                                                       REQUESTED BY THE COURT
   24
                                                       [Declarations of Stephen M. Medlock
   25                                                  and Katherine J. Shinners Filed
   26
                                                       Concurrently]

   27
        1
   28     Acting Secretary McAleenan is automatically substituted for former Secretary Nielsen pursuant
        to Fed. R. Civ. P. 25(d).
                                                               JOINT MOTION TO COMPEL LIMITED CLASS-
                                                                                    WIDE DISCOVERY
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                                                             JOINT MOTION TO COMPEL LIMITED
                                                                      CLASS-WIDE DISCOVERY
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                                                             JOINT MOTION TO COMPEL LIMITED
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    1                              PLAINTIFFS’ ARGUMENT
    2   I.    INTRODUCTION
    3         On July 29, 2019, the Court largely denied the Government’s motion to
    4   dismiss, finding that Plaintiffs have plausibly alleged that the Government has
    5   implemented a border-wide policy of turning back asylum seekers at ports of entry
    6   along the U.S.-Mexico border. See Dkt. 278 at 58-65. On August 1, 2019, the Court
    7   denied without prejudice Plaintiffs’ Joint Motion for Determination of Discovery
    8   Dispute (Dkt. 263) and directed the parties to meet and confer further regarding the
    9   scope of discovery in light of the Court’s motion to dismiss opinion (Dkt. 278). See
   10   Dkt. 279. The parties have done so, and have substantially narrowed their disputes
   11   concerning the scope of discovery.
   12         However, the Government maintains that the scope of discovery should be
   13   limited to four ports of entry (“POEs”) on the U.S.-Mexico border and U.S. Customs
   14   and Border Protection’s (“CBP’s”) Office of Field Operations (“OFO”). The
   15   Government’s argument for doing so is that (a) the only ports of entry that are
   16   relevant are the ports that the named plaintiffs attempted to transit, (b) if a border-
   17   wide turnback policy existed, evidence of such a policy would be manifest in the
   18   documents that the Government has already agreed to produce, and (c) that
   19   producing border-wide discovery would be unduly burdensome and not
   20   proportionate to the needs of the case.
   21         These arguments are baseless. Class-wide discovery is plainly relevant.
   22   Plaintiffs allege a putative class that is border-wide, the Court has found those
   23   allegations to be plausible, and Plaintiffs are entitled to take discovery on those
   24   allegations.
   25         Moreover, contrary to the Government’s assumption, discovery is not limited
   26   to the existence of a turnback policy. Discovery is also needed to determine whether
   27   the requirements of Rule 23(a) and 23(b) can be satisfied, including whether the
   28
                                                                   JOINT MOTION TO COMPEL LIMITED
                                                                           CLASS-WIDE DISCOVERY
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    1   treatment of asylum seekers at a particular port of entry is similar to the treatment of
    2   asylum seekers at other POEs. To determine whether the Rule 23(a) and 23(b)
    3   factors are met in this case, Plaintiffs need discovery from more than four POEs and
    4   the OFO.
    5         Finally, the discovery that Plaintiffs are seeking from other POEs is not
    6   unduly burdensome or disproportionate. Plaintiffs have offered to limit discovery
    7   from other POEs to four custodians. During meet-and-confers with Plaintiffs, the
    8   Government has provided no evidence that discovery from these four custodians
    9   would be burdensome in any way.
   10   II.   PLAINTIFFS’ MEET-AND-CONFER EFFORTS
   11         Pursuant to Fed. R. Civ. P. 26(d)(2), Plaintiffs delivered their First and Second
   12   Sets of Requests for Production to the Government on February 19, 2019. Medlock
   13   Decl. ¶¶ 4-5. On April 9 and 10, 2019, the Government served its responses and
   14   objections to Plaintiffs’ requests for production. Id. at ¶ 6. In their April 2019
   15   responses to Plaintiffs’ First and Second Sets of Requests for Production, the
   16   Government claimed that discovery should be limited to four POEs on the U.S.-
   17   Mexico border (San Ysidro, Otay Mesa, Hidalgo, and Laredo) and CBP’s Office of
   18   Field Operations. The Government asserts the same general objection:
   19         Defendants object to each and every Request to the extent that it
   20         requests or appears to request information related to all ports of entry
   21         along the U.S.-Mexico border as not proportional to the needs of the
   22         case, overly broad, and unduly burdensome. The claims in this action
   23         relate only to aliens arriving or attempting to arrive at four specific ports
   24         of entry on the U.S.-Mexico border: San Ysidro, Otay Mesa, Laredo,
   25         and Hidalgo. As no class exists in this action, such requests go beyond
   26         the scope of the specific claims and allegations at issue. Further, the
   27         burden of searching for, collecting, reviewing, and producing
   28         documents related to all ports of entry along the U.S.-Mexico border
                                                                    JOINT MOTION TO COMPEL LIMITED
                                                                            CLASS-WIDE DISCOVERY
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    1          would be disproportional to the needs of the case. As Defendants
    2          explained during the parties’ meet-and-confer, Plaintiffs allege a
    3          border-wide practice, policy, and/or procedure; discovery from the four
    4          ports of entry where the named Plaintiffs allegedly encountered such a
    5          practice, policy, and/or procedure (or a subset thereof), in addition to
    6          discovery from select higher-level officials and centralized non-
    7          custodial sources, satisfies the needs of the case, as any evidence of a
    8          border-wide practice, policy, and/or procedure, if it exists, would
    9          necessarily be found in such locations. Any discovery from other ports
   10          of entry along the U.S.-Mexico border would be duplicative and unduly
   11          burdensome.       Defendants therefore understand and construe these
   12          Requests as seeking discovery limited to the San Ysidro, Otay Mesa,
   13          Laredo, and Hidalgo ports of entry, and will search for and produce
   14          only relevant and non-privileged documents relating to aliens arriving
   15          or attempting to arrive at these four ports of entry, and documents from
   16          the Office of Field Operations Headquarters. Defendants’ responses to
   17          each and every Request will be limited consistent with this general
   18          objection. However, should Defendants locate responsive documents
   19          related to other ports of entry, Defendants will not withhold or redact
   20          those documents on the basis of this objection alone.
   21   Gov’ts Objs. to Pltfs’ Second Set of RFPs at Gen. Obj. 4; see also Gov’ts Objs. to
   22   Pltfs’ Second Set of RFPs at Gen. Obj. 5 (asserting same objections and limitations).2
   23          After receiving the Government’s responses and objections, the parties began
   24   a series of telephonic meet-and-confers that spanned late April 2019 and early May
   25   2019. Medlock Decl. ¶ 7. The parties were unable to resolve several disputes
   26   concerning the scope of discovery and ultimately presented them to the Court on
   27
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   28    The exact wording of each requests in Plaintiffs’ First and Second Sets of Requests for Production
        are replicated at pages 63-300 of Dkt. 263.
                                                                         JOINT MOTION TO COMPEL LIMITED
                                                                                 CLASS-WIDE DISCOVERY
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    1   May 24, 2019, in a joint motion.              See Dkt. 263; Medlock Decl. ¶ 7.                The
    2   Government’s submission in that joint motion included two fact witness declarations
    3   that were not previously disclosed to Plaintiffs, despite Plaintiffs requests. See Dkt.
    4   268. Plaintiffs moved to strike these declarations. See id.
    5          On July 15, 2019, while the May 24, 2019 joint motion was still pending,
    6   Plaintiffs offered to limit the scope of discovery from custodian outside of the San
    7   Ysidro, Otay Mesa, Hidalgo, and Laredo POEs to the following four custodians:
    8               Hector Mancha, Director of Field Operations, El Paso Field Office;
    9               Tater G. Ortiz, Port Director, Brownsville Port of Entry;
   10               Michael Humphries, Port Director, Nogales Port of Entry; and
   11               David Salazar, Port Director, Calexico Port of Entry.3
   12   Medlock Decl. ¶ 8. Plaintiffs’ rationale for these five additional custodians was
   13   simple: a large number of asylum seekers have attempted to present themselves at
   14   the Brownsville, Nogales, Calexico, and El-Paso-area POEs and been turned away
   15   by CBP officers. Id. at ¶ 9. The port directors and director of field operations for
   16   those ports will have information concerning the implementation of the Turnback
   17   Policy at those POEs. Id. In subsequent discussions concerning these four proposed
   18   custodians, the Government has never denied that these proposed custodians possess
   19   information relevant to Plaintiffs’ claims.
   20          On July 17, 2019, the Government rejected Plaintiffs’ proposal, stating that
   21   the joint motion was “still pending” and that the Government already had “enough
   22   on [its] plate.” Medlock Decl. ¶ 10.
   23          On July 29, 2019, the Court substantially denied the Government’s motion to
   24   dismiss Plaintiffs’ Second Amended Complaint. See Dkt. 278. On July 31, 2019,
   25   Plaintiffs wrote to the Government requesting that the Government withdraw some
   26   of the arguments raised in the May 24, 2019 joint motion in light of the Court’s
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          In addition, Plaintiffs proposed that the Government should produce documents in the possession,
   28   custody, and control of Jud Murdock, the Acting Assistant Commissioner of CBP, from a limited
        time period in 2018. The Government ultimately agreed to this request.
                                                                        JOINT MOTION TO COMPEL LIMITED
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    1   motion to dismiss opinion. Medlock Decl. ¶ 11. Before the Government could
    2   respond to Plaintiffs’ request, the Court issued an order denying the May 24, 2019
    3   joint motion without prejudice. See Dkt. 279. In light of the Court’s motion to
    4   dismiss opinion, the parties were “directed to revisit, by way of the meet and confer
    5   process, their respective positions concerning” the May 24, 2019 joint motion. Id.
    6   at 2. The Court also ordered that “[t]he meet and confer process is to resume
    7   forthwith.” Dkt. 279 at 2. The Court also directed the parties to not file a renewed
    8   joint motion “until the parties have thoroughly met and conferred regarding all
    9   disputed issues.” Id.
   10         That same day, Plaintiffs’ counsel reached out to the Government’s counsel
   11   to set up a meet-and-confer. Medlock Decl. ¶ 12. The parties met and conferred via
   12   telephone on August 12, 2019. Id. at ¶ 13. During this telephone conference, the
   13   parties were able to significantly narrow their disputes concerning the scope of
   14   discovery. Id. However, the parties continue to dispute whether the scope of
   15   discovery should be limited to four POEs (San Ysidro, Otay Mesa, Laredo, and
   16   Hidalgo) and the OFO, or if Plaintiffs could seek limited discovery from other POEs.
   17   Id.
   18         On August 22, 2019, the Government sent a letter to Plaintiffs that further
   19   limited the scope of the parties’ disputes. The Government “maintain[ed] that
   20   discovery relating to other ports of entry [was] improper and/or disproportionate to
   21   the needs of the case, and is thus unduly burdensome.” Medlock Decl. at ¶ 14.
   22         C.     THE GOVERNMENT SHOULD PRODUCE LIMITED CLASS-
   23                WIDE DISCOVERY
   24         The issues presented by this renewed joint motion are narrow: (1) Are
   25   documents in the possession, custody, and control of the four custodians proposed
   26   by Plaintiffs relevant to the claims and defenses in the litigation? (2) Would
   27   producing those documents be proportional to the needs of the case? (3) Has the
   28   Government presented evidence proving that it would be unduly burdensome to
                                                                  JOINT MOTION TO COMPEL LIMITED
                                                                          CLASS-WIDE DISCOVERY
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    1   produce documents from those four custodians? As shown below, the answers to
    2   these questions demonstrate that the Government should be compelled to produce
    3   documents from Plaintiffs’ proposed four additional custodians.
    4         The Government’s rationale for limiting discovery to these four POEs and the
    5   OFO does not withstand scrutiny. First, the Government claims that, until a class is
    6   certified, the only POEs that are relevant are the ports that the named plaintiffs
    7   attempted to transit. But that ignores the allegations in the Plaintiffs’ Second
    8   Amended Complaint—Plaintiffs plead a class that encompasses all of the POEs that
    9   are capable of processing noncitizens seeking asylum in the United States. See Dkt.
   10   189 at ¶ 236. The Court has found these allegations, and most of the Second
   11   Amended Complaint, plausible.       Plaintiffs should be allowed to take limited
   12   discovery concerning POEs beyond San Ysidro, Otay Mesa, Hidalgo, and Laredo.
   13   Second, the Government claims that discovery from San Ysidro, Otay Mesa,
   14   Hidalgo, Laredo, and the OFO should be sufficient to determine whether the
   15   Turnback Policy exists. But this ignores the fact that Plaintiffs also need discovery
   16   concerning the Rule 23(a) and 23(b)(2) factors to determine whether the
   17   Government had a common policy of turning back asylum seekers at POEs other
   18   than San Ysidro, Otay Mesa, Hidalgo, and Laredo. Third, citing general allegations
   19   regarding the number of CBP employees, the Government claims that border-wide
   20   discovery will be unduly burdensome and not proportionate to the needs of the case.
   21   However, the Government ignores the fact that Plaintiffs have agreed to limit the
   22   scope of discovery from other POEs to the following four CBP employees:
   23             Hector Mancha, Director of Field Operations, El Paso Field Office;
   24             Tater G. Ortiz, Port Director, Brownsville Port of Entry;
   25             Michael Humphries, Port Director, Nogales Port of Entry; and
   26             David Salazar, Port Director, Calexico Port of Entry.
   27   Accordingly, the Government’s arguments should be rejected and the Court should
   28   order the Government to produce documents from these four custodians.
                                                                  JOINT MOTION TO COMPEL LIMITED
                                                                          CLASS-WIDE DISCOVERY
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   1         A.     PLAINTIFFS’         NARROW         REQUEST          FOR     CLASS-WIDE
   2                DISCOVERY IS RELEVANT
   3         There is no doubt that Plaintiffs’ narrowed request for class-wide discovery is
   4   relevant to the allegations and defenses in this case. The Federal Rules of Civil
   5   Procedure authorize parties to obtain discovery of “any nonprivileged matter that is
   6   relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). “Information
   7   within the scope of discovery need not be admissible in evidence to be discoverable.”
   8   Id. “The party resisting discovery generally bears the burden to show that the
   9   discovery requested is irrelevant to the issues in the case or is not proportional to the
  10   needs of the case. If the resisting party meets its burden, then the burden shifts to
  11   the moving party to show the information is relevant and necessary.” Kellgren v.
  12   Petco Ani. Supplies, Inc., 2016 WL 4097521, at *2 (S.D. Cal. 2016); see also
  13   Henderson v. Holiday CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010) (“The party
  14   resisting discovery has a heavy burden of showing why the requested discovery
  15   should not be permitted.”).
  16         Evidence is relevant if it has “any tendency to make the existence of any fact
  17   that is of consequence to the determination of the action more probable than it would
  18   be without the evidence.” Old Chief v. United States, 519 U.S. 172, 178 (1997).
  19   Therefore, “[t]he question of relevancy should be construed liberally and with
  20   common sense and discovery should be allowed unless the information sought has
  21   no conceivable bearing on the case.” Solo v. City of Concord, 162 F.R.D. 603, 610
  22   (N.D. Cal. 1995) (citation omitted); see also Ghorbain v. Guardian Life Ins. Co. of
  23   Am., 2016 U.S. Dist. LEXIS 116132, at *3 (W.D. Wash. 2016) (“The court should
  24   and ordinarily does interpret ‘relevant’ very broadly to mean matter that is relevant
  25   to anything that is or may become an issue in the litigation.”) (citation omitted).
  26         Plaintiffs require discovery from the Government in order to determine if
  27   “there are questions of fact or law common to the class.” Fed. R. Civ. P. 23(a)(2).
  28   This means that Plaintiffs must show that their claims “depend on a common
                                                                    JOINT MOTION TO COMPEL LIMITED
                                                                            CLASS-WIDE DISCOVERY
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   1   contention such that ‘determination of it truth or falsity will resolve an issue that is
   2   central to the validity of each [claim] in one stroke.’” Mazza v. Am. Honda Motor
   3   Co., 666 F.3d 581, 588-89 (9th Cir. 2012). Therefore, “[w]hat matters to class
   4   certification . . . [is] the capacity of a classwide proceeding to generate common
   5   answers apt to drive resolution of the litigation.” Wal-Mart Stores, Inc. v. Dukes,
   6   564 U.S. 338, 350 (2011). But “[d]issimilarities within the proposed class . . . have
   7   the potential to impede the generation of common answers.” Id. Discovery from
   8   Plaintiffs’ proposed custodians will show whether there are dissimilarities within the
   9   class based on the POE where the putative class members attempted to present
  10   themselves.      For example, this discovery will show whether the class
  11   representatives’ treatment at the San Ysidro, Otay Mesa, Hidalgo, and Laredo POEs
  12   is similar to the Government’s treatment of other noncitizens seeking asylum at other
  13   ports of entry. By taking the position that Plaintiffs are not entitled to discovery as
  14   broad as their class definition, the Government is attempting to deny Plaintiffs the
  15   very discovery that would support a motion for class certification. Plaintiffs are
  16   entitled to class-wide discovery to test whether the Rule 23(a) factors are satisfied
  17   in this case.
  18          B.       THE GOVERNMENT’S CLAIM THAT DISCOVERY FROM
  19                   FOUR POES AND THE OFO SHOULD BE SUFFICIENT
  20                   MISSES THE MARK
  21          The Government’s rejoinder is that, even if discovery from other POEs might
  22   be relevant, it is overkill.     The Government argues that the existence and
  23   implementation of the Turnback Policy should be apparent through discovery from
  24   the San Ysidro, Otay Mesa, Hidalgo, and Laredo POEs and the OFO.
  25          But the existence of the Turnback Policy is not the only subject that is within
  26   the scope of discovery in this case. In order to certify a class, a plaintiff must prove
  27   that the elements of Fed. R. Civ. P. 23(a) are met and that the defendant “acted or
  28   refused to act on grounds that apply generally to the class, so that final injunctive
                                                                   JOINT MOTION TO COMPEL LIMITED
                                                                           CLASS-WIDE DISCOVERY
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   1   relief or corresponding declaratory relief is appropriate respecting the class as a
   2   whole.” Fed. R. Civ. P. 23(b)(2). Plaintiff must “satisfy” this requirement “through
   3   evidentiary proof.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). Under Rule
   4   23(b)(2), a plaintiff “need not demonstrate every member of the class has suffered
   5   from an adverse effect.” Lyon v. U.S. Immigration & Customs Enf’t, 171 F. Supp.
   6   3d 961, 983 (N.D. Cal. 2016). “It is sufficient if class members complain of a pattern
   7   or practice that is generally applicable to the class as a whole. Even if some class
   8   members have not been injured by the challenged practice, a class may nevertheless
   9   be appropriate.” Walters v. Reno, 145 F.3d 1032, 1047 (9th Cir. 1998). See also
  10   William B. Rubenstein, et al. Newberg on Class Actions § 4:28 (5th ed. 2018)
  11   (“certification of a Rule 23(b)(2) class is proper despite the fact that not all class
  12   members may have suffered the injury posed by the class representatives so long as
  13   the challenged policy or practice was generally applicable to the class as a whole.”).
  14   Therefore, a plaintiff seeking to certify a Rule 23(b)(2) class must show that the
  15   defendant “engaged in a ‘common policy.’” In re Yahoo Mail Litig., 308 F.R.D.
  16   577, 599 (N.D. Cal. 2015).
  17         As a result, Plaintiffs require discovery from other POEs to determine whether
  18   the Government implemented a common policy with respect to asylum seekers
  19   attempting to present themselves for inspection at POEs along the U.S.-Mexico
  20   border. This discovery will show, amongst other things, whether port directors at
  21   other POEs were given so much discretion in implementing the Government’s
  22   metering policy that those POEs effectively adopted different policies with respect
  23   to asylum seekers. Or, as the Plaintiffs contend, the evidence may show that the
  24   Government adopted a common policy with respect to asylum seekers that was
  25   implemented globally at POEs along the U.S.-Mexico border. In either case,
  26   Plaintiffs are plainly entitled to this discovery.
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                                                                    JOINT MOTION TO COMPEL LIMITED
                                                                            CLASS-WIDE DISCOVERY
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   1         C.     PLAINTIFFS’           PROPOSED           LIMITED           CLASS-WIDE
   2                DISCOVERY IS PROPORTIONATE AND NOT BURDENSOME
   3         In response to Plaintiffs’ requests, the Government raises a familiar
   4   bogeyman—citing general statistics regarding the number of CBP employees and
   5   number of documents that the Government has already agreed to review—the
   6   Government claims that it simply has too much on its plate and cannot review
   7   additional documents. This is not the case.
   8         “The party claiming undue burden ‘must allege specific facts which indicate
   9   the nature and extent of the burden, usually by affidavit or other reliable evidence.’”
  10   Acosta v. Wellfleet Commc’ns, LLC, 2018 WL 664779, at *8 (D. Nev. 2018)
  11   (quoting Jackson v. Montgomery Ward & Co., Inc., 173 F.R.D. 524, 528-29 (D. Nev.
  12   1997)). “Conclusory or speculative statements of harm, inconvenience, or expense
  13   are plainly insufficient.” Nationstar Mortg., LLC v. Flamingo Trails No. 7
  14   Landscape Maint. Ass’n, 2016 WL 4071988, at *4 (D. Nev. 2016). “The fact that
  15   production of documents would be burdensome and expensive and would hamper a
  16   party’s business operation is not a reason for refusing to order production of relevant
  17   documents. . . . The standard is whether the burden and expense is ‘undue’ and
  18   whether the hardship is unreasonable in light of the benefits to be secured from the
  19   discovery.” Acosta, 2018 WL 664779, at *8.
  20         Similarly, parties are entitled to discovery that is relevant, non-privileged, and
  21   “proportional to the needs of the case, considering the importance of the issues at
  22   stake in the action, the amount in controversy, the parties’ relative access to relevant
  23   information, the parties’ resources, the importance of the discovery in resolving the
  24   issues, and whether the burden or expense of the proposed discovery outweighs its
  25   likely benefit.” Fed. R. Civ. P. 26(b). The party that objects that the burden of the
  26   proposed discovery outweighs its likely benefit must provide “information
  27   concerning [the] burden or expense” of the proposed discovery. First Am. Bankcard,
  28   Inc. v. Smart Bus. Tech., Inc., 2017 WL 2267149, at *1 (E.D. La. 2017) (denying
                                                                   JOINT MOTION TO COMPEL LIMITED
                                                                           CLASS-WIDE DISCOVERY
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   1   proportionality objection).
   2          In this case, Plaintiffs have addressed the Government’s proportionality and
   3   burden concerns by limiting their requests for discovery from POEs other than San
   4   Ysidro, Otay Mesa, Laredo, and Hidalgo to four custodians. This will not be, as the
   5   Government has insinuated, an open-ended search through the files of all CBP
   6   employees at all POEs.        In the meet-and-confers between the parties, the
   7   Government has not presented any evidence that would indicate that document
   8   discovery from Plaintiffs’ proposed four additional custodians would be unduly
   9   burdensome or that the burden of such discovery outweighs the benefits of such
  10   discovery. Nor has the Government provided Plaintiffs with any information about
  11   whether the documents in the possession of Plaintiffs’ proposed custodians would
  12   be duplicative of documents that the Government has already collected from other
  13   custodians. In short, the Government has provided no evidence suggesting that
  14   discovery from Plaintiffs’ four additional custodians would be burdensome in any
  15   way.
  16          The Government argues that it has already collected over 3 million documents
  17   from the 14 custodians and 8 non-custodial sources that the parties have previously
  18   agreed upon, and that this will result in the Government reviewing approximately
  19   200,000 documents for privilege and confidentiality. But this is merely a complaint
  20   about the discovery that the Government has already agreed to produce. The
  21   Government has not offered any facts concerning the burden that will be associated
  22   with collecting, reviewing, and producing documents from the four custodians at
  23   issue in this motion. The Government merely speculates that adding these four
  24   custodians “will substantially increase the already heavy burden” on the
  25   Government. Medlock Decl. ¶ 14. But this conclusory statement, which nearly any
  26   defendant in complex litigation could make, is not sufficient to demonstrate that
  27   Plaintiffs’ proposed discovery is unduly burdensome or disproportionate. See, e.g.,
  28   Nationstar Mortg., LLC, 2016 WL 4071988, at *4. As a result, the Government’s
                                                                 JOINT MOTION TO COMPEL LIMITED
                                                                         CLASS-WIDE DISCOVERY
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   1   proportionality and burden arguments regarding Plaintiffs’ request for limited
   2   discovery from other POEs should be rejected.
   3         D.     CONCLUSION
   4         For the foregoing reasons, the Court should order the Government to produce
   5   limited class-wide discovery from Plaintiffs’ proposed four additional custodians.
   6

   7                             DEFENDANTS’ ARGUMENT
   8   I.    INTRODUCTION
   9         The title of Plaintiffs’ motion is a misnomer. Defendants have already agreed
  10   to provide pre-certification “classwide” discovery regarding Plaintiffs’ allegations
  11   of a so-called “Turnback Policy” that applies at land ports of entry (POEs) along the
  12   U.S.-Mexico Border. 4 Defendants are providing wide-ranging discovery relating to
  13   whether that alleged policy exists, as well as to whether class certification is
  14   appropriate under Federal Rule of Civil Procedure 23(a). Defendants are providing
  15   document discovery from: relevant CBP headquarters officials; non-custodial
  16   sources concerning trainings and policies that apply across the U.S-Mexico border;
  17   field office officials from the San Diego and Laredo Field offices; and officials from
  18   the particular POEs at which the named Plaintiffs sought to enter the United States
  19   (San Ysidro, Otay Mesa, Laredo, and Hidalgo). This discovery should be more than
  20   sufficient to determine whether defendants engaged in a “common policy” that
  21   applies at land POEs on the U.S.-Mexico border and whether that policy is
  22   implemented in the same or similar way, and for the same or similar reasons, at each
  23   and every POE. Indeed, Plaintiffs have never adequately explained why this
  24   discovery is insufficient at this pre-certification stage or beyond.
  25
       4
  26  Plaintiffs appear to argue that “the OFO” is a separate entity from any of these
     POEs. That is incorrect. CBP’s Office of Field Operations (OFO) operates at all
  27 POEs across the southwest border and across the United States. See Howe Decl.
     ¶¶ 3-5. Defendants have agreed to produce documents form the San Ysidro, Otay
  28 Mesa, Laredo, and Hidalgo POEs (all of which fall under OFO control), as well as
     OFO headquarters.
                                                                   JOINT MOTION TO COMPEL LIMITED
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   1           Plaintiffs claim they need particularized discovery from some POEs to show
   2   whether the putative class representatives’ experience is typical of other putative
   3   class members’ experiences. Yet Plaintiffs have yet to provide any specific reason
   4   why they need particularized discovery from ports beyond the four POEs already at
   5   issue. Indeed, Plaintiffs implicitly acknowledge that obtaining discovery from each
   6   and every POE along the U.S.-Mexico border is not proportionate to the needs of the
   7   case.    Thus, the Court should accept Defendants’ reasonable limitation on
   8   particularized discovery to those POEs that are actually implicated by the putative
   9   class representatives’ allegations.
  10   II.     BACKGROUND: PLAINTIFFS’ CLAIMS AND ALLEGATIONS.
  11           In their Complaint, Plaintiffs allege that Defendants have engaged in a
  12   “Turnback Policy,” an alleged “formal policy to restrict access to the asylum process
  13   at POEs by mandating that lower-level officials directly or constructively turn back
  14   asylum seekers at the border.” Second Am. Compl. (ECF Dkt. No. 189) ¶ 3.
  15   Plaintiffs allege that CBP officials implement this policy in various ways, “including
  16   through pretextual assertions that POEs lack capacity to process asylum-seekers.”
  17   Order on Motion to Dismiss (ECF Dkt. No. 278), at p. 3 (citing Second Am. Compl.
  18   ¶¶ 3, 48-83). To challenge this alleged policy, Plaintiffs bring five causes of action,
  19   but they all boil down to two types of challenges. First, Plaintiffs assert a claim
  20   under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2)(C) and (D),
  21   alleging that the “Turnback Policy”—either an official policy or a high-level
  22   sanctioning of certain conduct—exceeds statutory authority or is without observance
  23   of procedure required by law. See Second Am. Compl. ¶¶ 271-282; Order on Motion
  24   to Dismiss at pp. 49-51. Plaintiffs also assert a claim under the APA, 5 U.S.C. §
  25   706(1), that asks the Court to compel “agency action unlawfully withheld or
  26   unreasonably delayed,” and which challenges “alleged failures by CBP officers to
  27   discharge certain mandatory statutory duties” through individual acts, supposedly in
  28   implementation of the “Turnback Policy.” Order on Motion to Dismiss at pp. 28,
                                                                   JOINT MOTION TO COMPEL LIMITED
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   1   51; Second Am. Compl. ¶¶ 257-69.
   2   III.   BACKGROUND: THE SCOPE OF DEFENDANTS’ CURRENT
   3          DOCUMENT COLLECTION.
   4          As recounted in prior briefing and filings before this Court, the parties have
   5   engaged in extensive negotiations about the scope of Defendants’ search for
   6   documents in response to Plaintiffs’ First, Second, and Third Sets of Requests for
   7   Production of Documents (RFPs). As of this date, the parties have agreed on 15
   8   custodians, 9 non-custodial sources, and 203 search terms to be applied to documents
   9   from many of those sources. ECF Dkt. No. 284-2, 8/30/19 Shinners Decl. ¶¶ 6-8,
  10   20; Declaration of Katherine J. Shinners, September 4, 2019 (9/4/19 Shinners Decl.)
  11   ¶¶ 9-10.5 These custodians include six CBP headquarters custodians, the Directors
  12   of Field Operations for the San Diego and Laredo Field Offices responsible for the
  13   four POEs at issue, as well as Port Directors or other officials from those four POEs.
  14   8/30 Shinners Decl. ¶¶ 6-8; 9/4/19 Shinners Decl. ¶ 9. The non-custodial sources
  15   include, among others, central repositories for CBP policy and training documents.
  16   8/30 Shinners Decl. ¶ 6.
  17          The resulting volume from this search, which spans from January 2016 to the
  18   varying dates of collection, is extremely large. Examining emails alone, Defendants
  19   have collected almost three million email messages from 14 of the 15 agreed-upon
  20   custodians. See 8/30 Shinners Decl. ¶ 22. Based on the information they have at
  21   this time, see id. ¶¶ 20, 24, Defendants project that there may be as many as 200,000
  22   documents that will need to be reviewed for privilege and confidentiality before
  23   production. See ECF No. 284 at p. 28.
  24

  25   5
       As part of ongoing discussions regarding Plaintiffs’ various RFPs, Defendants
  26 recently agreed to add another search term, to conduct a limited collection from an
     additional headquarters custodian, Jud Murdock, former Acting Assistant
  27 Commissioner of CBP’s Office of Intelligence, and to collect data from another
     non-custodial source, CBP’s Consolidated Secondary Inspection System.
  28 Declaration of Katherine J. Shinners, September 4, 2019 (9/4/19 Shinners Decl.) ¶¶
     9-10.
                                                                   JOINT MOTION TO COMPEL LIMITED
                                                                           CLASS-WIDE DISCOVERY
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   1   IV.   THE      COURT        SHOULD        REJECT       PLAINTIFFS’          BID       TO
   2         UNNECESSARILY              EXPAND          THE         SCOPE        OF      PRE-
   3         CERTIFICATION DISCOVERY.
   4         Discovery must be relevant and proportional to the needs of the case. Fed. R.
   5   Civ. P. 26(b)(1). Further, a court has broad discretion to “limit the scope of any
   6   discovery method if it determines that ‘the discovery sought is unreasonably
   7   cumulative or duplicative, or can be obtained from some other source that is more
   8   convenient, less burdensome, or less expensive.” Gusman v. Comcast Corp., 298
   9   F.R.D. 592, 595 (S.D. Cal. 2014) (quoting Fed. R. Civ. P. 26(b)(2)(C)(i)). In this
  10   pre-certification stage, “Plaintiffs bear the burden of either making a prima facie
  11   showing that Rule 23 class action requirements are satisfied or that discovery is
  12   likely to produce substantiation of the class allegations.” Aldapa v. Fowler Packing
  13   Co., Inc., 310 F.R.D. 583, 588 (E.D. Cal. 2015) (citing Mantolete v. Bolger, 767
  14   F.2d 1416, 1424 (9th Cir. 1985)). While the District Court has broad discretion as
  15   to whether to allow pre-certification discovery, “the need for discovery, the time
  16   required, and the probability of discovery providing necessary factual information”
  17   are also relevant factors ‘bearing on the correctness of the trial court’s exercise of
  18   discretion [to allow pre-certification discovery].’” A.A. v. Cty. of Riverside, No. 14-
  19   cv-2556, 2016 WL 10576640, at *3 (C.D. Cal. Mar. 14, 2016) (quoting Doninger v.
  20   Pacific Northwest Bell, Inc., 564 F.2d 1304, 1313 (9th Cir. 1977)) (emphasis added).
  21   Here, Plaintiffs have not shown that pre-certification discovery from four additional
  22   custodians—beyond the 24 custodians and non-custodial sources that Defendants
  23   have already agreed to provide—is necessary or justified in the context of this case.
  24         As explained above, Defendants have always agreed to provide discovery
  25   regarding border-wide, headquarters-level policies and procedures that are relevant
  26   to Plaintiffs’ allegations and apply at all land ports of entry along the U.S.-Mexico
  27   border—to the extent such policies and procedures exist. Defendants have also
  28   agreed to provide discovery regarding the application or implementation of any
                                                                   JOINT MOTION TO COMPEL LIMITED
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   1   relevant policies and relevant port-specific practices at the four ports of entry that
   2   are the subject of the allegations of the putative class representatives (San Ysidro,
   3   Otay Mesa, Hidalgo, and Laredo). For this reason, Defendants have worked with
   4   Plaintiffs to designate custodians and non-custodial sources that relate to border-
   5   wide policies, practices, and procedures, as well as custodians that relate to the four
   6   ports of entry and their respective field offices. The scope of Defendants’ search,
   7   and the resulting volume of documents for review, is extremely large.
   8         Plaintiffs cannot show that they need broader discovery to support their
   9   motion for class certification. Defendants thus maintain that discovery relating to
  10   other ports of entry is improper and/or disproportionate to the needs of the case, and
  11   is unduly burdensome. This is illustrated by an examination of Plaintiffs’ claims.
  12   To the extent Plaintiffs are challenging a borderwide “policy” under the APA, 5
  13   U.S.C. § 706(2), or through other causes of action, the challenge is to the legality of
  14   the border-wide policy or practice itself—which would emanate from headquarters
  15   components and be communicated to all ports of entry and/or field offices—and not
  16   to the particular application of that policy at particular ports.
  17         By contrast, to the extent Plaintiffs are claiming unreasonable delay or
  18   withholding of agency action under 5 U.S.C. § 706(1) of the APA or other causes of
  19   action, this challenge is to individual instances of conduct and requires a fact-
  20   specific inquiry into the application of a policy to particular individuals at particular
  21   ports. See Telecomms. Research and Action Center v. F.C.C., 750 F.2d 70, 79–80
  22   (D.C. Cir. 1984); Order on Motion to Dismiss (ECF Dkt. No. 278) at p. 51
  23   (“[I]ndividual turnbacks … are appropriately considered under Section 706(1).”).
  24   Yet the individual Plaintiffs can only represent similarly situated individuals in a
  25   Rule 23(b)(2) class. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348-49
  26   (2011) (“‘[A] class representative must be part of the class and possess the same
  27   interest and suffer the same injury as the class members.’” (quoting East Tex. Motor
  28   Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403 (1977))); Fed. R. Civ. P.
                                                                    JOINT MOTION TO COMPEL LIMITED
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   1   23(b)(2) (plaintiffs must show that defendants have “acted or refused to act on
   2   grounds that apply generally to the class, so that final injunctive relief or
   3   corresponding declaratory relief is appropriate respecting the class as a whole.”).
   4   Accordingly, any material difference in the implementation of any border-wide
   5   policy between the four ports at issue would defeat Plaintiffs’ ability to certify a
   6   borderwide class on their “unreasonable delay” claim. Thus, even if the Court were
   7   to determine that Plaintiffs were entitled to some particularized discovery from
   8   particular ports regarding the implementation of the claimed borderwide policy,
   9   Plaintiffs have not shown why they need particularized discovery from ports beyond
  10   San Ysidro, Otay Mesa, Hidalgo, and Laredo.6 Any such discovery would be
  11   unnecessarily duplicative for purposes of class certification. For these reasons, the
  12   Court should decline Plaintiffs’ request to expand the already-broad scope of
  13   Defendants’ search for documents at this stage. See Aldapa, 310 F.R.D. at 589
  14   (explaining that the court has “discretion in controlling the scope of pre-certification
  15   discovery to balance Plaintiffs’ need for discovery to substantiate their class
  16   allegations and concerns regarding overly burdensome discovery requests” and
  17   limiting pre-certification discovery to a subset of the putative class to reduce the
  18   burden on Defendants); Romo v. GMRI, Inc., No. EDCV-12-0715-JLQ, 2013 WL
  19   11310656, at *2 (C.D. Cal. Jan. 25, 2013) (the “scope of pre-certification discovery
  20   is not unlimited” and courts have “broad discretion to limit discovery” that could be
  21   obtained from some less burdensome source); Gusman, 298 F.R.D. at 596 (limiting
  22   production of information despite the court agreeing that the information was
  23   relevant because “production . . . would impose an undue burden on [defendant] in
  24   light of the other available means of obtaining the relevant information [regarding
  25
       6
  26    Defendants do not intend to use primary documents in opposition to class certification that they
       are not producing to Plaintiffs. Accordingly, Defendants will rely primarily on documents and
  27   evidence from headquarters and the two field offices and four ports of entry at issue. Defendants
       may use documents or related evidence that concern other ports, to the extent such documents
  28   were produced to Plaintiffs (for example, a document that provides information about all ports
       within the Laredo field office).
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   1   numerosity]”).
   2         For the same reason, any additional burden imposed by the discovery sought
   3   is undue because the discovery is not proportional to the needs of the case at this
   4   stage. Defendants have previously submitted declarations addressing the particular
   5   burdens involved in collecting documents from additional ports of entry. As set
   6   forth in the declaration of Elaine Dismuke, eDiscovery Team Lead at CBP, the task
   7   of simply collecting all emails from a particular custodian is labor-intensive and
   8   time-consuming. Ex. 2, Dismuke Decl. ¶¶ 4-5. Further, processing those additional
   9   documents for the application of search terms is complicated by the fact that the
  10   server housing CBP’s eDiscovery tool is low on space. Id. ¶¶ 11-14. Accordingly,
  11   “any increase in the number of custodians would lead to significant expenses and
  12   would significantly increase the time it would take to complete discovery in this
  13   case.” Id. ¶ 15. And, as explained by Randy Howe, Executive Director, Operations,
  14   CBP Office of Field Operations, adding custodians from additional ports of entry is
  15   “not … likely to yield significant additional relevant information beyond what is
  16   currently being collected from OFO headquarters.” Ex. 3, Howe Decl. ¶ 10. As
  17   Mr. Howe explains, “each POE is in regular contact with OFO headquarters” and
  18   “[e]mail communications from the field regarding metering and queue management
  19   procedures which may occur at the ports of entry will be collected as part of the
  20   discovery from headquarters custodians.” Id. Discovery from additional POEs
  21   “would be largely duplicative and would not . . . be likely to uncover significant
  22   additional relevant information[.]” Id. Accordingly, the burden of collecting this
  23   discovery outweighs any possible marginal benefit that it could provide, particularly
  24   in light of the substantial impact any additional discovery would have on
  25   Defendants’ litigation and operational resources. See Fed. R. Civ. P. 26(b)(1).
  26         Given the substantial breadth of Defendants’ current search for documents
  27   responsive to the First, Second, and Third Sets of RFPs, that additional discovery
  28   from particular ports of entry is thus not necessary for purposes of determining
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   1   whether the class certification factors are met, and that such discovery will be
   2   burdensome and largely duplicative of the discovery already sought, the Court
   3   should deny Plaintiffs’ request to add four more custodians. Defendants’ current
   4   search is sufficient for discovery relevant to the class certification factors, as they
   5   are providing discovery that goes both to the existence and contours of the claimed
   6   “policy,” as well as its implementation at four particular ports.
   7

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                                                              JOINT MOTION TO COMPEL LIMITED
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   2
            CERTIFICATE OF COMPLIANCE WITH MEET-AND-CONFER
   3
                                       REQUIREMENT
   4
             I certify that on August 12, 2019 the counsel for the parties met and conferred
   5
       via telephone to discuss the dispute raised in this joint motion. This conference
   6
       occurred via telephone because counsel were located in New York and the District
   7
       of Columbia. The parties were unable to resolve the dispute presented in this motion.
   8
       Dated: September 5, 2019                      MAYER BROWN LLP
   9

  10
                                                     By /s/ Stephen M. Medlock
  11                                                 Attorney for Plaintiffs
  12

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   1                          CERTIFICATE OF SERVICE
   2        I certify that I caused a copy of the foregoing document to be served on all
   3   counsel via the Court’s CM/ECF system.
   4   Dated: September 5, 2019                    MAYER BROWN LLP
   5

   6                                               By /s/ Stephen M. Medlock
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